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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :      CASE NO. 1:21-cr-00191-JEB
               v.                           :
                                            :
RYAN SCOTT ZINK,                            :
                                            :
                        Defendant.          :


                         NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Trial Attorney Francesco Valentini, detailed to the United States Attorney’s Office for the

District of Columbia. Please remove Janani Iyengar as counsel of record and from the electronic

notification process.



                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     UNITED STATES ATTORNEY
                                     D.C. Bar No. 481052

                              By:    /s/ Francesco Valentini
                                     Francesco Valentini
                                     D.C. Bar No. 986769
                                     Trial Attorney
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                               CERTIFICATE OF SERVICE

       I certify that, on April 26, 2022, an electronic copy of the foregoing was served on

counsel for the defendant via the Court’s ECF system.

                                    /s/ Francesco Valentini
                                    Francesco Valentini
